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           ORAL ARGUMENT NOT YET SCHEDULED
                             No. 25-5052
               ________________________________________
           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT
              ________________________________________
                                               HAMPTON DELLINGER,
                                                                                                                                                                  Plaintiff-Appellee,
                                                                                                        v.
  SCOTT BESSENT, in his official capacity as Secretary of the
                     Treasury, et al.,
                                                                                                                                                                  Defendants-Appellants.
                 ______________________________________________________________________________________________________________________________________________________________________________________



            On Appeal from the United States District Court
                     for the District of Columbia
             _______________________________________________________________________________________________________________________________________________________________________________________________




   BRIEF FOR AMICUS CURIAE SEPARATION OF POWERS
    CLINIC IN SUPPORT OF DEFENDANTS-APPELLANTS’
   EMERGENCY MOTION FOR A STAY PENDING APPEAL
             _______________________________________________________________________________________________________________________________________________________________________________________________




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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
                        CASES

      Pursuant to D.C. Circuit Rule 29, Amicus hereby submits this

certificate.

      A. Parties and Amici

      The parties and amici who have appeared before the Court are

listed in Defendants-Appellants’ D.C. Circuit Rule 28(a)(1) certificate.

      B. Rulings Under Review

      This appeal arises from a memorandum opinion (Dkt. 32) and order

(Dkt. 33) that the district court issued on March 1, 2025, granting

summary judgment in plaintiff’s favor and entering a permanent

injunction and declaratory judgment. The opinion and order are attached

to Defendants-Appellants’ motion.

      C. Related Cases

      The related cases are listed in Defendants-Appellants’ D.C. Circuit

Rule 28(a)(1) certificate.




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                     DISCLOSURE STATEMENT

     Per Federal Rules of Appellate Procedure 26.1 and 29(a), and D.C.

Circuit Rule 26.1, Amicus states that it is not a corporation or similar

entity, and no further Rule 26.1 disclosure statement is required.




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         IDENTITY AND INTEREST OF AMICUS CURIAE1
      Amicus curiae is the Separation of Powers Clinic housed within the

Separation of Powers Institute at The Catholic University of America’s

Columbus School of Law. The Institute and Clinic were established

during the 2024–25 academic year for the purpose of studying,

researching, and raising awareness of the proper application of the U.S.

Constitution’s separation of powers constraints on the exercise of federal

government power. The Clinic provides students an opportunity to

discuss, research, and write about separation of powers issues in ongoing

litigation.

      The Clinic previously was housed at Scalia Law School for several

years and has submitted numerous briefs over the years in cases

implicating separation of powers, including cases involving removal

protections for executive officials.




1 No person other than amicus curiae and its counsel assisted with or

made a monetary contribution for preparing or submitting this brief. All
parties have consented to the filing of this brief.

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                     SUMMARY OF ARGUMENT

     The Supreme Court held last year that “the President’s power to

remove ‘executive officers of the United States whom he has appointed’

may not be regulated by Congress.” Trump v. United States, 603 U.S. 593,

621 (2024). The district court here disagreed, bemoaning Defendants-

Appellants’ asserted “constitutional license to bully officials in the

executive branch into doing [the President’s] will.” Slip Op. at 6. But a

more appropriate description would be that Defendants-Appellants seek

to vindicate Article II’s mandate that the President be fully accountable

for ensuring the laws be faithfully executed.

     The Supreme Court has long recognized this constitutional

imperative and thus has held that the President has the authority to

remove Executive Branch principal officers at will, subject to a narrow

exception recognized in Humphrey’s Executor v. United States, 295 U.S.

602 (1935). The Court has not carved out the Special Counsel from that

general rule, nor recognized any other exception for principal officers.

The district court should have applied the default presumption that

Article II authorized the President to fire Hampton Dellinger at will and

at any moment, for any reason or no reason at all. See Part I, infra.



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       The district court also mistakenly reasoned—first expressly, then

later indirectly—that Humphrey’s Executor is relevant to the Office of

Special Counsel (OSC). See Part II, infra. The Special Counsel is not part

of a multi-member, expert, balanced commission that largely reports to

Congress. The district court’s reliance on Humphrey’s Executor was not

just misplaced but infected the court’s analysis, which led it to find a new,

previously unrecognized exception to the removal power over principal

officers.

       Defendants-Appellants accordingly have a strong likelihood of

success on the merits. The Court should grant their emergency stay

motion.

                              ARGUMENT

  I.   The Default Rule Applies Here: The President Can Remove
       the Special Counsel At Will.

       There is no dispute that the Special Counsel is a principal officer,

nominated by the President and confirmed by the Senate. Hampton

Dellinger is therefore in the heartland of executive officials over whom

the President must have absolute removal authority to ensure that

accountability for the faithful execution of the laws remains with the

President under a clear chain of command.


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      “Our Constitution was adopted to enable the people to govern

themselves” and “requires that a President chosen by the entire Nation

oversee the execution of the laws.” Free Enter. Fund v. Pub. Co. Acct.

Oversight Bd., 561 U.S. 477, 499 (2010). Article II does so by vesting the

executive power in the President, who must “take Care that the Laws be

faithfully executed.” U.S. Const. art. II, § 1, cl. 1; id. § 3. Thus, “the

‘executive Power’—all of it—is ‘vested in a President.’” Seila Law LLC v.

CFPB, 591 U.S. 197, 203 (2020).

      These    provisions    “grant[]   to   the     President”        the   “general

administrative control of those executing the laws, including the power

of appointment and removal of executive officers.” Myers v. United States,

272 U.S. 52, 163–64 (1926) (emphasis added). “[I]f any power whatsoever

is in its nature Executive, it is the power of appointing, overseeing, and

controlling those who execute the laws.” Free Enter., 561 U.S. at 492.

Because the President cannot conduct all executive business alone, he

must rely on “executive officers” to assist with that duty. Id. at 483. And

“[s]ince 1789, the Constitution has been understood to empower the

President to keep these officers accountable—by removing them from

office, if necessary.” Id.



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      “Without such power, the President could not be held fully

accountable for discharging his own responsibilities; the buck would stop

somewhere else.” Id. at 514. Anyone wielding executive power without

full accountability to the President would “pose a significant threat to

individual liberty and to the constitutional system of separation of

powers and checks and balances.” PHH Corp. v. CFPB, 881 F.3d 75, 165

(D.C. Cir. 2018) (Kavanaugh, J., dissenting).

      Thus, “[i]f there is any point in which the separation of the

legislative and executive powers ought to be maintained with great

caution, it is that which relates to officers and offices.” Myers, 272 U.S. at

116. As the Supreme Court summarized just last year, “the President’s

power to remove ‘executive officers of the United States whom he has

appointed’ may not be regulated by Congress.” Trump, 603 U.S. at 621.

      If anything, that principle applies even more strongly at the

beginning of a new Administration. “New Presidents always inherit

thousands of Executive Branch officials whom they did not select. It is

the power to supervise—and, if need be, remove—subordinate officials

that allows a new President to shape his administration and respond to

the electoral will that propelled him to office.” Collins v. Yellen, 594 U.S.



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220, 277–78 (2021) (Gorsuch, J., concurring in part). Otherwise, there

would be “wholly unaccountable government agent[s]” who “assert[] the

power to make decisions affecting individual lives, liberty, and property,”

yet are not accountable to “those who govern.” Id. at 278.

      These rules apply to the Special Counsel, who was not carved out

from Seila Law’s holding on removability of the leaders of single-headed

departments. The Court’s first response to those who invoked the OSC

was to note that the OSC statute was “created nearly 200 years after the

Constitution was ratified, drew a contemporaneous constitutional

objection from the Office of Legal Counsel under President Carter and a

subsequent veto on constitutional grounds by President Reagan.” Seila

Law, 591 U.S. at 221. In other words: the Special Counsel’s removal

protections are ahistorical and have always been recognized as

inconsistent with Article II.

      To be sure, the Court also noted that OSC does not wield the same

powers that the CFPB did in Seila Law—but that is hardly an express

ruling carving out the Special Counsel as unique from a constitutional

perspective. Id. In fact, the Court did the opposite by holding that the

Humphrey’s Executor exception (discussed in Part II below) and the



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Morrison exception (discussed below in the next paragraph) represent the

“outermost constitutional limits of permissible congressional restrictions

on the President’s removal power.” Seila Law, 591 U.S. at 218. Neither

of those apply to OSC, though. The district court, however, claimed to

have unearthed a third exception. That was error.

      To give a sense of the illogic in holding a principal officer to be

protected from at-will removal, consider that under Morrison, even

inferior officers are removable at-will unless they possess “narrowly

defined duties” that exclude “policymaking or administrative authority.”

Id. at 204, 218. Dellinger would fail even that test, meaning the district

court blessed removal protections that would not be constitutional even

as applied to an inferior officer.

      OSC’s own website says it is a “prosecutorial agency.” About OSC,

OSC, https://perma.cc/ANW6-LCEQ (visited Feb. 24, 2025). And

rightfully so, because OSC enforces the Civil Service Reform Act, the

Whistleblower Protection Act, the Hatch Act of 1939, and the Uniformed

Services Employment and Reemployment Rights Act of 1994. DOJ’s

Office of Legal Counsel has taken the view for nearly 50 years that the




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Special Counsel “perform[s] largely executive functions.” 2 Op. O.L.C.

120, 121 (1978).

      Even during the pendency of this case, Dellinger has been

prosecuting complaints on behalf of terminated federal employees. No

wonder the district court was forced to acknowledge that the Special

Counsel does “perform some typically executive functions,” Slip Op. at 5,

pursuant to a statute that “contains some executive-sounding verbs,” id.

at 39. The court should have followed Seila Law’s default rule and

concluded this rendered Dellinger removable at will.

      Even on its own terms, the district court was internally inconsistent

about the nature of OSC and how that affected the court’s analysis. At

one point the court argued that it was not distinguishing Seila Law on

the basis that OSC “is smaller or less important” than the CFPB, Slip

Op. at 49, yet the court had previously hung its hat on the view that OSC

is a “small federal agency,” and thus its leader is apparently more

deserving of removal protections under Article II, id. at 3.

      Finally, lest the Court think that OSC deals only with prosecuting

matters affecting lower-level employees (which would still be executive

power, by the way), it is worth noting that Dellinger’s predecessor issued



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a 100-page report finding Hatch Act violations by the Biden-appointed

U.S. Attorney Rachael Rollins,2 who immediately “resign[ed] in

disgrace.” Joe Dwinell, Massachusetts U.S. Attorney Rachael Rollins

Resigning—‘In Disgrace,’ says Sen. Cotton, Bos. Herald (May 16, 2023),

https://tinyurl.com/4dz75e99.

        Taking down a sitting U.S. Attorney is no small feat—and hardly

one consistent with the notion that the Special Counsel exercises such a

microscopic amount of executive power that he would somehow be a sui

generis exception to the default rule of at-will removal of principal officers

outside the realm of Humphrey’s Executor.

                                    ***

        A fair reading of Seila Law did not leave open the prospect that the

Special Counsel represents a heretofore unrecognized exception to the

removal power. The Court should nonetheless eliminate all doubt and

hold that the President can fire the Special Counsel without cause, at any

time.




2 Off. Special Counsel, Rep. of Prohibited Pol. Activity Under the Hatch

Act OSC File No. HA‐22‐000173 (Rachael Rollins) (May 17, 2023),
https://perma.cc/5R3V-8D8A.

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 II.   The District Court Erred by Relying—Expressly at First,
       Then Later Indirectly—on Humphrey’s Executor.

       As noted above, in Humphrey’s Executor the Supreme Court

established a narrow exception to the President’s removal power over

principal officers for those who serve on “a multimember body of experts,

balanced along partisan lines, that performed legislative and judicial

functions and was said not to exercise any executive power,” a descriptor

the Supreme Court applied to the Federal Trade Commission as it was

understood to operate in 1935 when Humphrey’s Executor was issued.

Seila Law, 591 U.S. at 216.

       In its order granting a TRO, the district court expressly analogized

the Special Counsel to the position at issue in Humphrey’s Executor. The

district court said that “several” of “the circumstances that animated [the

Supreme Court’s] opinion in Humphrey’s Executor … pertain to the OSC

today.” Dellinger v. Bessent, No. 1:24-cv-385, 2025 WL 471022, at *5

(D.D.C. Feb. 12, 2025). For example, like OSC, “the [FTC in 1935]

performed specified duties to aid the legislature, such as making

investigations and reports to Congress, and like the OSC, the five

member board of the FTC was ‘designed to be non-partisan and to act

with entire impartiality.’ The Seila Law Court also pointed out that


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Humphrey’s Executor found that ‘[t]he FTC’s duties were ‘neither

political nor executive,’ but instead called for ‘the trained judgment of a

body of experts’ ‘informed by experience.’ Here we have a statute that

incorporates Congress’s judgment with respect to the qualifications to be

the Special Counsel.” Id. at *5–6.

      This analogy to Humphrey’s Executor falls flat. Dellinger did not

serve on a “multimember body,” let alone one “balanced along partisan

lines,” nor did he perform “legislative and judicial functions” in their

constitutional sense. In the words of the Supreme Court, “a single

Director … cannot be described as a ‘body of experts’ and cannot be

considered ‘non-partisan’ in the same sense as a group of officials drawn

from both sides of the aisle.” Seila Law, 591 U.S. at 218. Accordingly,

Humphrey’s Executor has no application here.

      In its summary judgment order, the district court backed off its

express reliance on Humphrey’s Executor, see Slip Op. at 35 n.16, but the

court’s mistaken thinking still seems to have infected its analysis. For

example, the court found it significant that (in its view) the Special

Counsel must be “free of partisan or political influence,” id. at 6, and this

“independence from partisan political interference is necessary,” id. at



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50. That is a direct allusion to Humphrey’s Executor’s discussion of non-

partisan officials. The district court also found significant that the

Special Counsel can “report directly to Congress,” id. at 5; see id. at 50

(same), invoking Humphrey’s Executor’s discussion of legislative

functions. And the court tried to measure whether the acknowledged

executive power the Special Counsel possesses is sufficiently significant,

id. at 6, 42–50, again invoking Humphrey’s Executor’s rationale. The

district court applied Humphrey’s Executor in all but name.

      Besides simply being inapplicable to the Special Counsel in the first

place, there are several additional reasons why Humphrey’s Executor

should not apply here. The Court is of course bound by that opinion as

far as it goes, but “[w]e should resolve questions about the scope of

[Supreme Court] precedents in light of and in the direction of the

constitutional text and constitutional history.” Free Enter. Fund v. Pub.

Co. Acct. Oversight Bd., 537 F.3d 667, 698 (D.C. Cir. 2008) (Kavanaugh,

J., dissenting). And Humphrey’s Executor is “inconsistent with the text of

the Constitution, with the understanding of the text that largely

prevailed from 1789 through 1935, and with prior precedents,” id. at 696,

and its foundations and rationale have been “repudiated [in] almost every



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aspect,” Seila Law, 591 U.S. at 239 (Thomas, J., concurring in part and

dissenting in part). Accordingly, “the foundation for Humphrey’s Executor

is not just shaky. It is nonexistent.” Id. at 248. This Court should not

apply that opinion beyond its narrow facts.

      This is no academic dispute. By allowing the executive power to be

wielded by someone not fully accountable to the elected Commander in

Chief, “Humphrey’s Executor poses a direct threat to our constitutional

structure and, as a result, the liberty of the American people.” Id. at 239.

It means the President “could not be held fully accountable for

discharging his own responsibilities; the buck would stop somewhere

else.” Free Enter., 561 U.S. at 514. So-called independent agencies—

which the district court apparently believes now includes OSC—thus

“pose a significant threat to individual liberty and to the constitutional

system of separation of powers and checks and balances.” PHH Corp.,

881 F.3d at 165 (Kavanaugh, J., dissenting).

      Accordingly, although the Court is bound by Humphrey’s Executor,

it should decline to apply it here for numerous reasons. The default rule

applies to Dellinger: Article II “grants to the President” the “general

administrative control of those executing the laws, including the power



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of appointment and removal of executive officers.” Myers, 272 U.S. at

163–64 (emphasis added). Under that rule, “[a]s we have explained, the

President’s power to remove ‘executive officers of the United States whom

he has appointed’ may not be regulated by Congress.” Trump, 603 U.S.

at 621. Accordingly, Defendant-Appellants are likely to prevail on the

merits, and the Court should grant a stay of the district court’s order.




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                            CONCLUSION

      The Court should grant Defendants-Appellants’ emergency motion.

March 4, 2025                    Respectfully submitted,

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                  CERTIFICATE OF COMPLIANCE

      I hereby certify that this brief complies with the type-volume

limitations of Federal Rule of Appellate Procedure 29 because it contains

2,594 words, excluding the exempted portions. This brief complies with

the typeface and type style requirements of Federal Rules of Appellate

Procedure 32(a)(5)–(6) because it has been prepared in a proportionally

spaced typeface using Microsoft Word in Century Schoolbook and 14-

point font.

                                          /s/ R. Trent McCotter
                                          R. Trent McCotter


                     CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing

document with the Clerk of this Court by using the CM/ECF system,

which will serve all parties automatically.

                                          /s/ R. Trent McCotter
                                          R. Trent McCotter




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